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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
COMMONWEALTH OF MASSACHUSETTS,              :
                                            :
            Plaintiff,                      :    Case No. 1:17-cv-11930-NMG
                                            :
      v.                                    :
                                            :
UNITED STATES DEPARTMENT OF                 :
HEALTH AND HUMAN SERVICES et al.,           :
                                            :
            Defendants.                     :
__________________________________________:

      REPLY BRIEF IN SUPPORT OF DEFENDANTS’ COMBINED MOTION
       TO DISMISS AND CROSS-MOTION FOR SUMMARY JUDGMENT
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                                          INTRODUCTION

       After years of litigation, multiple rounds of public comment, and tens of thousands of

individual comments on different iterations of the exemption and accommodation at issue here,

the U.S. Departments of Health and Human Services (“HHS”), Labor, and the Treasury

(collectively, “the Agencies”) could not find a way to resolve the litigation simply by amending

the existing contraceptive coverage accommodation for employers with religious and moral

objections. See FAQs About ACA Implementation Part 36 (Jan. 9, 2017). Accordingly, they

chose to resolve that litigation and safeguard conscience and religious liberty by making the

accommodation process optional and expanding the existing exemption from the contraceptive

coverage mandate. The expanded exemption, in the form of the Religious Exemption Rule and

the Moral Exemption Rule (“the Rules”), shields a narrow class of sincere religious and moral

objectors from government-compelled facilitation of contraceptive coverage in conflict with their

religious beliefs or moral convictions.

       Plaintiff’s challenge to these Rules has no merit. Because the Rules were promulgated

after providing public notice and an opportunity for comment, they comply with the procedural

requirements of the Administrative Procedure Act (“APA”). Additionally, the Agencies

reasonably exercised their rulemaking authority to guide the discretion of the Health Resources

and Services Administration (“HRSA”) to support preventive services guidelines and to craft a

response to the problems that had been caused by the contraceptive coverage mandate

(“mandate”). The Rules neither run afoul of the Establishment Clause nor discriminate on the

basis of sex. Indeed, the Rules place religious and moral objections on similar footing.

Defendants therefore respectfully request that the Court enter summary judgment in their favor.




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                                          ARGUMENT

I.     The Final Rules Comply With the APA’s Procedural Requirements.

       Plaintiff yet again takes aim at the Agencies’ decision to promulgate the Rules as interim

final rules that requested public comment (“IFRs”), arguing that because there was purportedly

no legal basis for proceeding with IFRs, the Final Rules that superseded them must also be

invalid. Combined Mem. in Opp. to Defs.’ Mot. to Dismiss or Cross-Mot. for Summ. J., and

Reply Br. in Supp. of Massachusetts’ Mot. for Summ. J. at 1-5, ECF No. 127 (“Pl. Opp.”). To

be sure, the IFRs were properly issued. But even if they had not been, that would not affect the

procedural validity of the Final Rules. Plaintiff argues otherwise only by discounting the efforts

the Agencies made to consider the tens of thousands of comments submitted by the public in

response to the IFRs, to respond to those comments with changes to those IFRs in promulgating

the Final Rules in response to those comments, and to explain their reasoning to commenters

who disagreed with the Agencies’ proposal. The process that preceded issuance of the Final

Rules involved “a level of public participation and a degree of agency receptivity that

demonstrate[s] that a real ‘public reconsideration of the issued rule’ has taken place.” Levesque

v. Block, 723 F.2d 175, 188 (1st Cir. 1983). As such, the Final Rules fully comply with the

APA’s procedural strictures. 1




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  Plaintiff cites Pennsylvania v. Trump, 930 F.3d 543, 565-69 (3d Cir. 2019), where the Third
Circuit sustained the district court’s conclusion that the Final Rules were procedurally improper.
Applying Third Circuit precedent, the Pennsylvania court focused on the absence of substantive
changes between the IFRs and the Final Rules and the manner in which the IFRs supposedly
changed the “status quo” of the rulemaking despite not being in force when the Final Rules were
promulgated. Id. As explained below, these arguments are not consistent with basic principles
of administrative law or the First Circuit’s decision in Levesque, and this Court should reject
them.
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       A.      The Rules Were Properly Promulgated As IFRs.

       The Agencies have maintained throughout this litigation that they possessed the legal

authority to issue IFRs under the circumstances of this case. See Defs.’ First Cross-Mot. for

Summ. J. and Opp. to Pl. Mot. for Summ. J. at 14-18, ECF No. 33. Plaintiff’s latest brief

continues to object to the Agencies’ exercise of this authority, Pl. Opp. at 2-3, but none of these

objections has merit.

       First, the use of IFRs by the Agencies was authorized by Congress, which provided that

the Agencies “may promulgate any interim final rules as the Secretar[ies] determine[] are

appropriate” in this area. 26 U.S.C. § 9833; 29 U.S.C. § 1191c; 42 U.S.C. § 300gg-92 (emphasis

added). Plaintiff asserts that because this language is permissive, not mandatory, it is not

sufficient to justify a deviation from notice and comment procedures under the precedent the

Agencies rely upon. Pl. Opp. at 2. But Plaintiff’s reading of Asiana Airlines v. FAA, 134 F.3d

393, 398 (D.D.C. 1998), and Methodist Hosp. of Sacramento v. Shalala, 38 F.3d 1225, 1237

(D.C. Cir. 1994), would render the statutory provisions the Agencies relied upon superfluous,

which would be contrary to the canons of statutory interpretation. There would be no reason for

Congress to enact provisions such as Sections 9833, 1191c, and 300gg-92 if all they did was

reaffirm the APA. See Williams v. Taylor, 529 U.S. 362, 404 (2000) (courts “‘must give effect,

if possible, to every clause and word of a statute’”). The Agencies correctly relied on these

statutory authorities to issue interim final rules in 2010, 2011, and 2014 regarding the preventive

services mandate and its exemptions, and they permissibly relied on the same authorities to

promulgate the IFRs at issue here.

       Second, the Agencies’ conclusion that notice and comment rulemaking would be

“impracticable,” 82 Fed. Reg. 47,792, 47,813 (Oct. 13, 2017), provided the “good cause”



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required by the APA to proceed with interim final rules. Plaintiff asserts that the Agencies “have

not explained” why this is the case, Pl. Opp. at 3, but Plaintiff ignores the Agencies’ findings in

the IFRs on the importance of the religious liberty interests at stake, the pendency of court

deadlines, and the need to provide assurance to entities that desired to extend health coverage to

their employees but had been deterred from doing so as a result of the Mandate. See 82 Fed.

Reg. at 47,813-15. Therefore, impracticability alone justified the Agencies’ decision to issue the

IFRs, just as they did in 2010, 2011, and 2014 without any procedural objection from Plaintiff.

See Long Term Care Pharm. All. v. Ferguson, 362 F.3d 50, 54 n.3 (1st Cir. 2004) (rulemaking is

“impracticable ‘when an agency finds that due and timely execution of its functions would be

impeded by the notice otherwise required’”) (quoting Util. Solid Waste Activities Grp. v. EPA,

236 F.3d 749, 754 (D.C. Cir. 2001)).

       B.       The Final Rules Are Procedurally Proper.

       Although a finding that the IFRs were properly issued would resolve Plaintiff’s

procedural APA claim, that claim should fail regardless. The Final Rules, not the IFRs, are now

at issue. And the Final Rules are the product of a robust notice and comment period in which the

Agencies received tens of thousands of public comments, “made a number of changes in the

rules and gave reasonable responses when [the] rules were not changed.” Levesque, 723 F.2d at

188. Because “a real ‘public reconsideration of the issued rule’ has taken place[,]” the Final

Rules should not be vacated because they were initially promulgated as IFRs, even if the Court

were to agree that the IFRs were procedurally unlawful and pre-promulgation comment were

possible. Id.

       Plaintiff asserts that the Agencies’ “post-promulgation actions” to implement the IFRs

represent “a firm commitment to close-mindedness” that belied “real public reconsideration” of



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the Rules. Pl. Opp. at 4 (emphasis omitted). But, at most, the Agencies demonstrated a

commitment to implementing the IFRs, which were necessarily temporary and designed to be

implemented prior to receiving public comment (and which the Agencies could no longer

implement after various district courts enjoined them from doing so). Such actions do not nullify

the effect of a post-promulgation notice and comment period. Indeed, under Plaintiff’s theory, it

seems doubtful that a federal agency could ever cure a defect in an IFR, because agencies will

presumably implement the IFRs they have promulgated, given that the underlying purpose of an

IFR is to govern in the intervening period before a final rule can be promulgated.

       Indeed, the facts at issue here are virtually indistinguishable from Levesque, which

Plaintiff makes no effort to distinguish. In Levesque, the Secretary of Agriculture issued interim

final rules redefining the concept of a “household” for purposes of food stamp eligibility that

were made effective immediately upon promulgation “and were to be implemented fully by the

states” less than a month after issuance. 723 F.2d at 178. The First Circuit nonetheless deemed

the post-promulgation comments sufficient for purposes of sustaining the final rules that were

ultimately issued, even though “the household definition challenged [there] was changed only

minimally” in the final rules. Id. at 178, 187. Likewise, the evidence of implementation relied

upon by Plaintiff and the court in California v. HHS, 281 F. Supp. 3d 806, 829 (N.D. Cal. 2017),

aff’d in part, vacated in part, 911 F.3d 558 (9th Cir. 2018), is not sufficient to vacate the Final

Rules on procedural grounds.

       Plaintiff makes light of the changes the Agencies made to the Final Rules because they

do not go to the substance of the rules. Pl. Opp. at 4-5. This proves nothing. Even though

“changes and revisions are indicative of an open mind” (and the Agencies made many such

changes), the inverse is not true; “an agency’s failure to make any [changes] does not mean its



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mind is closed.” Advocates for Highway & Auto Safety v. Fed. Highway Admin., 28 F.3d 1288,

1292 (D.C. Cir. 1994). The “open mind” test does not require Agencies to accede to comments

they disagree with, or to possess the sort of neutrality towards proposed regulations that Plaintiff

now argues is necessary for APA rulemaking to be procedurally valid. Agencies almost always

have some level of “bureaucratic commitment to the substance” of the regulations they propose,

Pl. Opp. at 4, otherwise they would not have proposed them. That does not make all rulemaking

procedurally unlawful. Indeed, “[a]n agency is not required to adopt a rule that conforms in any

way to the comments presented to it” during notice and comment, and “[s]o long as it explains its

reasons, [the agency] may adopt a rule that all commentators think is stupid or unnecessary.”

Riverbend Farms, Inc. v. Madigan, 958 F.2d 1479, 1487 (9th Cir. 1992) (emphasis added).

       Finally, Plaintiff misunderstands the Agencies’ argument that this case does not raise

concerns about “upsetting the status quo by amending a rule only recently implemented.”

Levesque, 723 F.2d at 187. Levesque was concerned with the unwillingness of an agency to

depart from a set of rules it was already implementing, not with an agency official having a

“‘stake’ in the substance” of particular rules. Pl. Opp. at 5 (quoting Levesque, 723 F.2d at 187).

This case does not raise concerns about inertia. The Agencies did not have to consider the costs

of “amending a rule only recently implemented” when promulgating the Final Rules because the

IFRs were enjoined at that time. Levesque, 723 F.2d at 187.

       Taken to its logical conclusion, Plaintiff’s position would prevent agencies from ever

issuing rules substantively similar to those tainted by an initial procedural error. The Court

should reject Plaintiff’s attempt to turn the APA’s procedural requirements into a permanent

roadblock to rulemaking, and grant the Agencies’ motion for summary judgment on this claim.




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       C.      The Final Rules Are Authorized by the Affordable Care Act.

       As Defendants have previously explained, the Rules are authorized by the Affordable

Care Act’s (“ACA”) delegation of authority to HRSA (a component of HHS). See 42 U.S.C. §

300gg-13(a)(4) (requiring that certain health plans and health insurance issuers cover “with

respect to women” such “additional preventive care and screenings . . . as provided for in

comprehensive guidelines supported by [HRSA]”); Mem. in Supp. of Defs.’ Combined Mot. to

Dismiss, Cross-Mot. for Summ. J., and Opp. to Pl. Mot. for Summ. J. at 14-15, ECF No. 122

(“Defs.’ SJ Mem.”). Plaintiff’s contrary interpretation of the ACA suffers from a glaring error—

if it were correct, it would doom not only the Rules, but also the prior exemption for churches

and their integrated auxiliaries, and the prior accommodation, which also removed the

requirement of contraceptive coverage for employees of many religious organizations that are

not churches or integrated auxiliaries. Plaintiff leaves this point entirely unaddressed. See Pl.

Opp. at 5-8.

       Plaintiff continues to misinterpret the statute’s plain meaning. Id. at 6. The term “shall”

imposes a mandatory obligation on covered plans to cover the preventive services as provided

for and supported by HRSA, but it does not limit HRSA’s authority (that is, HHS’s) to decide the

extent to which it will provide for and support a requirement of preventive services, both

regarding what services must be covered and by what categories of regulated entities. Any

contrary conclusion would mean that the Agencies lacked (and continue to lack) the statutory

authority to create the exemption for churches and their integrated auxiliaries, or the

accommodation to the extent that it leaves employees of non-church organizations without the

benefit of an enforceable contraceptive coverage requirement. Plaintiff gives insufficient weight

to the statutory text stating that the preventive-services requirement applies only “as provided



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for” and “supported by” HRSA’s guidelines. Id. at 5-8. Plaintiff’s reiteration of its opening

arguments does not negate the fact that what, and to what extent, those guidelines provide for

and support particular coverage by particular entities is clearly left to HHS’s discretion by

Congress. Id. At a minimum, the statute is ambiguous when read as a whole, and the Agencies’

construction is a reasonable one (dating back to 2011) and is entitled to deference.

II.    The Religious Freedom Restoration Act Authorizes and Compels the Religious
       Exemption Rule.

       Even if the Rules are not authorized by the ACA, they are authorized (and indeed

compelled) by the Religious Freedom Restoration Act (“RFRA”). Again, Plaintiff cannot

overcome the central flaw in its argument—if it were acceptable for the Agencies to use their

authority under RFRA to create the accommodation process, then the Agencies’ use of that same

authority to implement the Religious Exemption Rule should be no different.

       As Defendants have previously explained, Defs.’ SJ Mem. at 21-34, the Religious

Exemption Rule is the Agencies’ solution to alleviate the substantial burden remaining on some

employers after the accommodation (as compelled by RFRA) and to alleviate the substantial

burden identified by the Supreme Court in Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682

(2014) (as permitted by RFRA, because RFRA does not require that the Agencies take any

particular response to remove a substantial burden).

       A.      Plaintiff Cannot at Once Contend That RFRA Authorizes the
               Accommodation, But Deny RFRA’s Authorization of the Religious
               Exemption Rule.

       Unable to deny that the Supreme Court has identified the contraceptive mandate as

imposing a substantial burden within the meaning of RFRA, Plaintiff posits that the

accommodation is the single acceptable path forward. Plaintiff suggests that the accommodation

is acceptable because it satisfies both RFRA and the ACA’s purported requirement to provide

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coverage of contraceptive services in all contexts. Pl. Opp. at 9-10. But both halves of this

argument are legally flawed: the accommodation does not satisfy RFRA because it does not

alleviate the substantial burden on the religious exercise of some entities, as described below;

and the ACA does not require the blanket coverage of preventive services, instead delegating to

HRSA the ability to identify and determine the scope of preventative services to be provided, as

described supra I.C. Plaintiff’s concession that the accommodation satisfies RFRA further

undermines its challenge because the accommodation also results in many women—who do not

work for churches or their integrated auxiliaries—not receiving coverage for cost-free

contraceptives through their health plan, and thus cannot be distinguished from the Religious

Exemption Rule on that basis. See 83 Fed. Reg. 57,536, 57,541 (Nov. 15, 2018) (“[T]he

accommodation process itself, in some cases, failed to require contraceptive coverage for many

women, because—as the Departments acknowledged at the time—the enforcement mechanism

for [the accommodation], section 3(16) of ERISA, does not provide a means to impose an

obligation to provide contraceptive coverage on the third party administrators of self-insured

church plans.”). In other words, Plaintiff hails the accommodation despite the fact that it does

what Plaintiff insists the Agencies have no authority to do: take religious nonprofit organizations

that are neither churches nor integrated auxiliaries, and remove from them a requirement that

would otherwise have ensured their employees receive contraceptive coverage. Yet Plaintiff

illogically insists the Agencies cannot give those same types of religious organizations a simple

exemption from the mandate.

       Plaintiff also errs by attempting to import an analysis of conflicting statutes into the

RFRA analysis. Pl. Opp. at 9-11. RFRA mandates respect for religious liberty across all

government initiatives. It applies “to all Federal law, and the implementation of that law,



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whether statutory or otherwise, and whether adopted before or after November 16, 1993.” 42

U.S.C. § 2000bb-3(a). Indeed, Congress expressly rejected Plaintiff’s theory that courts should

endeavor to harmonize RFRA with other statutes. Congress provided that “Federal statutory law

adopted after November 16, 1993, is subject to [RFRA] unless such law explicitly excludes such

application by reference to [RFRA].” Id. § 2000bb-3(b). Nothing in the ACA or its preventive

services provision explicitly states that Congress intended RFRA not to apply to the ACA’s

requirements. See also id. § 18023(c)(2)(A)(i) (providing that nothing in the ACA “shall be

construed to have any effect on Federal laws regarding . . . conscience protection”).

       B.      RFRA Authorizes the Government to Affirmatively Avoid Unduly
               Burdening Religious Exercise, Which Includes the Authority to Grant
               Exemptions.

       Plaintiff does not dispute that RFRA requires the government to act to eliminate

substantial burdens on the exercise of religion unless the burden is the least restrictive means of

furthering a compelling government interest. RFRA’s text is clear: “Government shall not

substantially burden a person’s exercise of religion even if the burden results from a rule of

general applicability, except as provided in subsection (b).” 42 U.S.C. § 2000bb-1(a).

       Plaintiff agrees that the Agencies have the authority under RFRA to create exemptions to

relieve substantial burdens on religious exercise, as the Agencies did in creating the

accommodation. Plaintiff’s disagreement is limited to whether the Religious Exemption Rule is

a permissible RFRA exemption. According to Plaintiff, the prior administrative accommodation

was all that RFRA required, and thus, the Agencies cannot issue the Rule. Pl. Opp. at 9-10, 12.

But Plaintiff identifies no legal authority precluding the Agencies from responding to the

substantial burden identified in Hobby Lobby with a broader exemption, likely because no such

authority exists. Indeed, Plaintiff agrees that the Agencies need not “precisely hit the bullseye”



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and that there is no reason to think that the accommodation is the only acceptable response to the

substantial religious burden imposed by the contraceptive mandate. Id. at 11. 2 “RFRA does not

. . . prescribe the accommodation that the government must adopt” in response to a substantial

burden; instead, it leaves agencies with a measure of “discretion to fashion an appropriate and

administrable response to respect religious liberty interests implicated by their own regulations.”

82 Fed. Reg. at 47,806. And allowing agencies to choose to respond to a substantial burden on

religious exercise with an exemption rather than an accommodation is particularly appropriate

here, where the Agencies have already attempted several accommodations, and those

accommodations were the subject of widespread legal challenges that divided the courts and (at

an absolute minimum) were subject to serious questions about their sufficiency.

       This approach is also consistent with the Supreme Court’s recognition in analogous

contexts that an entity faced with potentially conflicting legal obligations should be afforded

some leeway. For example, the Court has held that, under Title VII, an employer may “engage

in intentional discrimination for the asserted purpose of avoiding or remedying an unintentional

disparate impact” if the employer has “a strong basis in evidence to believe it will be subject to

disparate-impact liability if it fails to take the race-conscious, discriminatory action.” Ricci v.

DeStefano, 557 U.S. 557, 585 (2009). Critically, the Court did not require the employer to prove

that it actually would “be subject to disparate-impact liability.” The Court explained that the




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  To the extent that Plaintiff objects to the Rules merely because their exemption extends to
insurers and third-party administrators that provide contraceptive coverage to employees of the
objecting employer, see Pl. Opp. at 18-19, such an objection merely restates Plaintiff’s argument
that employers are not being substantially burdened because coverage is provided by insurers or
third-party administrators. The Rules’ exemption is not being provided to remove a substantial
burden on such insurers or administrators, but instead to remove the burden on employers that
object on complicity grounds to the accommodation’s use of their relationship with insurers or
administrators to provide coverage that the employers deem immoral. See infra II.C.
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more flexible standard it adopted “appropriately constrains employers’ discretion in making

race-based decisions” but was not “so restrictive that it allows employers to act only when there

is a provable, actual violation”—a standard that would have left employers in an untenable

position. Id. at 583. So too here. Thus, it is irrelevant whether “[t]he Accommodation is . . . the

least restrictive means” to alleviate the substantial burden on religious exercise identified in

Hobby Lobby. Pl. Opp. at 14; see also id. at 17-19.

       Particularly where, as in this case, the Agencies are faced with substantial claims that

RFRA compels an exemption—claims that have been accepted by many courts—the Agencies

should be permitted to adopt that exemption even if the courts might ultimately have concluded

that some form of accommodation would have been consistent with RFRA.

       C.      Entities Are Substantially Burdened in the Absence of the Religious
               Exemption Rule.

       The Rule is not only authorized by RFRA, but is a required response to the substantial

burden imposed by the contraceptive mandate and not alleviated for many entities by the

accommodation. Plaintiff argues that the accommodation process avoids substantial burdens on

religious exercise, and thus removes the necessity for the Agencies to act further under RFRA.

Pl. Opp. at 12-15. But as Defendants previously explained, the Religious Exemption Rule is

necessary to alleviate the substantial burden on employers with “a sincere religious belief that

their participation in the accommodation process makes them morally and spiritually complicit”

in providing contraceptive coverage, because their “self-certification” triggers “the provision of

objectionable coverage through their group health plans.” Sharpe Holdings, Inc. v. HHS, 801

F.3d 927, 942 (8th Cir. 2015), judgment vacated sub nom. HHS v. CNS Int’l Ministries, __ S. Ct.

__, 2016 WL 2842448 (2016); see also 82 Fed. Reg. at 47,798, 47,800; Defs.’ SJ Mem. at 22-25.




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Plaintiff does not contend that agencies must wait to act under RFRA until a court has identified

a substantial burden.

        The Religious Exemption Rule is the Agencies’ response to the precise substantial burden

already identified by the Supreme Court in Hobby Lobby and not alleviated by the

accommodation for objectors who believe that self-certifying through the accommodation

process triggers the provision of contraceptive coverage in violation of their religious beliefs.

Defs.’ SJ Mem. at 32. As Defendants previously noted, id. at 31-33, RFRA does not prescribe

the precise remedy by which the government must eliminate a substantial burden, once one has

been identified. To conclude otherwise would trap the Agencies in protracted litigation until the

Agencies discovered the single accommodation that would be least protective of the objector’s

religious exercise while still prevailing in a RFRA lawsuit brought by the objector. RFRA

therefore did not require the Agencies to select the accommodation—with all of its idiosyncratic

features—as the one correct response to the substantial burden identified in Hobby Lobby.

Instead, the Agencies, at that time, could have simply offered a straightforward exemption to

objectors, as the Religious Exemption Rule does, and nothing prevents the Agencies from doing

the same now.

        Plaintiff’s argument that the accommodation does not substantially burden religious

exercise invites precisely what RFRA does not allow and what the Supreme Court has

prohibited: “it is not for [a court] to say that [an objector’s] religious beliefs are mistaken.”

Hobby Lobby, 573 U.S. at 725. Here, entities with sincere religious objections to the

accommodation must choose between acting contrary to their beliefs and facing crippling

financial penalties. Plaintiff cannot deny the existence of those financial penalties, nor that some

religious entities sincerely object to the accommodation because it inextricably intertwines them



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with the provision of contraceptive coverage to their employees—if an employer eliminated its

health plan or terminated an employee, that employee would no longer receive contraceptive

coverage through the employer’s insurer or third-party administrator. Plaintiff’s facile

conclusion that objecting employers will have “no role in” the provision of contraceptive

coverage after they self-certify, Pl. Opp. at 12, and that it is “self-evident” that self-certification

cannot be a substantial burden, id. at 13, ignores the fact that objecting employers believe that,

by using their health plans, the accommodation makes them complicit in the provision of

contraceptive coverage. That is why dozens of plaintiffs challenged the accommodation under

RFRA as requiring them to engage in conduct that would make them complicit in the provision

of contraceptive coverage in violation of their religious beliefs, thereby substantially burdening

their exercise of religion. See Zubik v. Burwell, 136 S. Ct. 1557 (2016) (reviewing four sets of

cases). Plaintiff’s argument hinges on precisely the type of second-guessing of religious belief

that the Supreme Court has said is prohibited. As Hobby Lobby established, a court’s “narrow

function in this context is to determine whether the line drawn reflects an honest conviction,” as

opposed to “in effect tell[ing] the plaintiffs that their beliefs are flawed.” 573 U.S. at 724, 725

(cleaned up).

        Plaintiff expresses concern that “every federal regulatory accommodation for entities

with sincere religious objections to participation in government programs could turn into a

RFRA violation.” Pl. Opp. at 13. But there is no magic inherent in the word “accommodation”

that prevents an “accommodation” from substantially burdening religious exercise, as this case

illustrates. There is thus no blanket rule removing accommodations from RFRA scrutiny. The

contrary conclusion would undermine RFRA’s intent to protect religious liberty. That said, to

the extent that Plaintiff is concerned that this case will open the floodgates to RFRA objections



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to other accommodations, Plaintiff offers no reason to expect such a flood of objections to occur,

especially given that accommodations are generally designed to eliminate burdens on religious

exercise.

       Plaintiff also loses focus on the substantiality of the burden at issue here—an

independent inquiry that turns on the severity of the pressure the government’s action imposes on

the objector’s religious exercise. See Hobby Lobby, 573 U.S. at 718-20; see also Sharpe, 801

F.3d at 938. Here, of course, the analysis is straightforward because the substantial burden

resulting from the accommodation is the significant financial penalty imposed for failure to

comply with the mandate or accommodation. That is the same penalty the plaintiffs faced in

Hobby Lobby, where the Court had “little trouble” concluding that the mandate imposed a

substantial burden. 573 U.S. at 719; see also Priests for Life v. HHS, 808 F.3d 1, 16 (D.C. Cir.

2015) (Kavanaugh, J., dissenting from denial of rehearing en banc). In circular logic, Plaintiff

argues that the hefty financial penalty is irrelevant because entities can take the accommodation

instead of paying, Pl. Opp. at 12, but of course that ignores the entities with religious objections

to the accommodation—precisely those entities that matter here.

       D.      There Is No Compelling Government Interest in Forcing the Objectors
               Covered by the Religious Exemption Rule to Provide Contraceptive
               Coverage.

       As discussed above, although RFRA requires the government to alleviate substantial

burdens on religious exercise unless applying that burden to an objector is the least restrictive

means of serving a compelling government interest, RFRA does not require the means of

alleviating such burden to satisfy those requirements in reverse. In other words, an exemption or

accommodation under RFRA need not itself be the least restrictive approach to achieving a




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compelling government interest. In any event, Plaintiff is incorrect in arguing that the status quo,

sans Rule, is the least restrictive means of serving a compelling government interest.

       Plaintiff appears to concede that the question for analysis is whether a compelling

governmental interest exists in requiring the small percentage of employers with sincere

religious objections to the mandate or accommodation to violate their religious beliefs, although

Plaintiff perplexingly argues that such a requirement has no effect. Pl. Opp. at 15. As the

Agencies reasonably concluded, 3 there is no such compelling interest. The mandate itself is

already replete with exceptions. These exceptions include the exemption for churches and their

integrated auxiliaries, the exemption for grandfathered plans, and the accommodation when used

by a self-insured church plan, all of which may result in women not receiving cost-free

contraceptive coverage that would otherwise be required by the mandate. Moreover, when the

mandate was in place prior to the Religious Exemption Rule, a significant study showed there

was no significant increase in the proportion of women at risk for unintended pregnancy who

used contraception, and no significant increase in the use of most effective or moderately

effective methods of contraception (except for a small increase in implant use). Defs.’ SJ Mem.

at 28. This is one reason that the Agencies concluded there was no compelling interest in

coercing the relatively small number of employers who qualify for the expanded religious

exemption. Id.; see 83 Fed. Reg. at 57,548. Plaintiff also appears to acknowledge that many of

the women who might lose coverage through their employers could obtain contraceptives




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  Although Plaintiff suggests that the Agencies wrongfully changed their position regarding
compelling interest, Pl. Opp. at 14-15, the Agencies clearly explained their good reasons for
reaching their new conclusion, and the new policy is permissible under the statute, which is all
that is required. FCC v. Fox Television Studios, Inc., 556 U.S. 502, 515 (2009); see also 83 Fed.
Reg. at 57,546-68 (explaining the Agencies’ views).
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through other programs, Pl. Opp. at 15-16, and thus the only interest at stake here is in the

“seamlessness” of access for those women.

       Plaintiff nevertheless second-guesses the judgment of the federal government as to its

own interests, arguing that, even if “some women” still receive contraceptive coverage, that

“do[es] not diminish the government’s interest is in ensuring that ‘all women’” receive

contraceptive coverage. Id. at 16. But this demonstrates two fundamental misunderstandings—

first, as to the entity charged with defining the federal government’s compelling interests and

second, as to the scope of RFRA’s protections. RFRA’s requirement that the government not

substantially burden religious exercise unless doing so is the least restrictive means of achieving

a compelling government interest means that if the government can achieve the vast majority of

its goals without substantially burdening religious exercise, then it must do so.

       As Defendants previously explained, the administrative record does not contain adequate

evidence to meet the high standard of demonstrating a compelling interest. Defs.’ SJ Mem. at

27-28 (citing 83 Fed. Reg. at 57,547). Plaintiff suggests that there must be something “new” in

the administrative record to permit the Agencies to reach this conclusion, but provides no

support for that position. Pl. Opp. at 14. In any event, as discussed above, the Agencies relied in

part on research regarding the effect of the contraceptive mandate on contraception use.

Plaintiff’s challenges amount to an attempt to second-guess the Agencies’ expertise in judging

the material in the administrative record, an approach that is at odds with the principles of APA

review. See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

29, 43 (1983) (“The scope of review under the ‘arbitrary and capricious’ standard is narrow and

a court is not to substitute its judgment for that of the agency.”).




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       E.      Alleged Third Party Harm Is Not a Reason to Neglect RFRA’s
               Requirements.

       Plaintiff also returns to its argument that RFRA contains a separate requirement barring

effects on third parties. Pl. Opp. at 16. Not so. Plaintiff cannot refute that RFRA’s text includes

no such requirement. Nor can Plaintiff refute that nearly all exemptions will affect third parties,

including the exemption for churches and their integrated auxiliaries (and the accommodation

when used by self-insured church plans) that Plaintiff does not challenge, because both of these

existing exemptions can result in women not receiving contraceptive coverage. Plaintiff cites the

language of Hobby Lobby, id. (citing Hobby Lobby, 573 U.S. at 730 n.37), but, as Defendants

have already explained, Defs.’ SJ Mem. at 30 n.8, this language is referring to the Establishment

Clause analysis as explained in Cutter v. Wilkinson, 544 U.S. 709 (2005), not any additional

requirement added by RFRA. The Religious Exemption Rule does not violate the Establishment

Clause, as demonstrated infra at III. The Agencies have been attempting to harmonize religious

liberty interests with access to contraceptive coverage for years, but have been unable to

completely satisfy both considerations. See, e.g., FAQs About ACA Implementation Part 36

(Jan. 9, 2017) (noting that, after soliciting public comments post-Zubik, the Agencies were

unable to find a way to amend the accommodation to both satisfy all objectors and all policy

goals). The Rule thus represents precisely what Plaintiff claims to want—the Agencies’ best

attempt to “reconcile,” Pl. Opp. at 16, religious liberty concerns and access to contraceptive

coverage.

III.   The Rules Do Not Violate the Establishment Clause.

       The Rules are consistent with the Establishment Clause because they promote the

permissible secular purpose of alleviating significant governmental interference with the exercise

of religious and moral convictions; moreover, the Rules do not advance religion, but only free

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entities and persons with such convictions to practice as they would in the absence of

government-imposed regulations. Defs.’ SJ Mem. at 34-40. Most notably, the Rules are not

limited to religious entities, but include exemptions for non-religious employers and individuals.

This significantly undercuts Plaintiff’s attempt to depict the Rules as advancing no secular

purpose.

       Plaintiff’s attempt to conflate the Rules’ accommodation of religious exercise with an

impermissible promotion of religion cannot be squared with Corporation of the Presiding Bishop

of the Church of Jesus Christ of Latter-Day Saints v. Amos, 483 U.S. 327 (1987), which

recognized that alleviating significant governmental interference with religious exercise is a

permissible legislative purpose. Plaintiff implies that Amos is inapposite because it concerned

the institutional autonomy of religious congregations and religious not-for-profits to control their

own leadership and membership. See Pl. Opp. at 20. That cramped view of the permissibility of

accommodating religious beliefs finds no support in Amos, which spoke broadly of the

government’s authority to alleviate governmental interference with the ability of religious

organizations to “define and carry out their religious missions.” 483 U.S. at 335. That is

precisely what the Religious Exemption Rule seeks to accomplish.

       Plaintiff further errs in contending that the Agencies ran afoul of the Establishment

Clause by replacing with an exemption the accommodation that Plaintiff appears to acknowledge

at least “some employers [are] burdened by.” Pl. Opp. at 22. Here, the government’s secular

purpose—to alleviate significant governmental interference with the exercise of religious and

moral convictions—is not fully served by the accommodation. See 83 Fed. Reg. at 57,546-48

(explaining that requiring entities to choose between compliance with the accommodation or

paying financial penalties violated RFRA in many instances). Some entities have sincere



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religious objections to the role that the accommodation forces them to play in the provision of

contraceptive coverage. Plaintiff’s attempt to minimize these religious objections again invites

what the Supreme Court has prohibited: “it is not for [a court] to say that [an objector’s] religious

beliefs are mistaken.” Hobby Lobby, 573 U.S. at 725. Plaintiff also misplaces its reliance on the

caselaw it cites in support of its arguments. Bowen v. Roy, 476 U.S. 693 (1986), cited by

Plaintiff, did not involve the Establishment Clause. And Texas Monthly, Inc. v. Bullock, 489

U.S. 1 (1989), supports Defendants’ position. In that case, the Court noted that “the application

of Title VII’s exemption for religious organizations that we approved in [Amos], though it had

some adverse effect on those holding or seeking employment with those organizations (if not on

taxpayers generally), prevented potentially serious encroachments on protected religious

freedoms”). Id. at 18 n.8 (emphasis added). The same is true here—the promulgation of the

Rules is necessary to prevent potentially serious encroachments on the exercise of religious (and

moral) convictions by objecting employers.

       Second, from the fact that Plaintiff disagrees with the Rules’ outcome on policy grounds,

it does not follow that the Agencies have “advance[d] employers’ religious interests over the

health and wellbeing of female employees.” Pl. Opp. at 21. As explained above, the Agencies

provided reasoned explanations for the promulgation of the Rules, and responded meaningfully

to comments regarding the impact of the Rules. Plaintiff relies on inapposite cases to support its

contrary arguments. In Larkin v. Grendel’s Den, 459 U.S. 116 (1982), a state statute delegated

“a power ordinarily vested in agencies of government”—the ability to veto applications for

liquor licenses within a prescribed radius—to churches and schools. Id. at 122; see also id. at

117-18. The Rules do not vest governmental functions in any entity.




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       As Defendants’ opening brief explained, before the mandate, women had no entitlement

to contraceptive coverage without cost-sharing; thus, if the same Agencies that created and

enforce the mandate also create a limited exemption to accommodate sincere religious

objections, the women affected are not “burdened” in a meaningful sense, because they are no

worse off than before the Agencies chose to act in the first instance. Defs.’ SJ Mem. at 38.

Contrary to Plaintiff’s suggestion that there is little support for this conclusion, Pl. Opp. at 21

n.7, it is supported by Amos, which explained that although the plaintiff was “[u]ndoubtedly”

adversely affected by the termination of his employment, “it was the [Mormon] Church[,] not the

Government, who put him to the choice of changing his religious practices or losing his job.”

483 U.S. at 337 n.15. Instead of burdening the Church’s employees, the religious exemption

simply left them where they were before Title VII’s general prohibition and exemption had been

enacted. The same is true of the Rules.

       Finally, Plaintiff misses the mark in relying on cases such as Wallace v. Jaffree, 472 U.S.

38 (1985), and Edwards v. Aguillard, 482 U.S. 578 (1987), to advance its contention that the

Rules have no secular purpose because their purpose is allegedly fully served by existing law.

See Pl. Opp. at 23-24. Here, the secular purpose—to alleviate significant governmental

interference with the exercise of religious and moral convictions—was not fully served by the

accommodation, given that the Agencies were unable to find any way to satisfy religious and

moral objections short of expanding the exemption. See Defs.’ SJ Mem. at 6.

IV.    The Rules Do Not Violate the Fifth Amendment’s Equal Protection Principle.

       The Rules are consistent with principles of equal protection. Plaintiff’s equal protection

challenge, Pl. Opp. at 24-27, fails because only rational basis review applies and the Rules easily

satisfy it. Furthermore, the Rules also would satisfy intermediate scrutiny if it applied.



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       Rational basis review applies because the Rules do not draw a sex-based distinction. As

Defendants’ opening brief explained, the ACA’s provision requiring coverage for additional

preventive services supported by HRSA pertains only to such services for “women.” Defs.’ SJ

Mem. at 41 (citing 42 U.S.C. § 300gg-13(a)(4)). Accordingly, the Rules and HRSA Guidelines

generally give benefits to women that they do not give to men, because they require coverage for

female contraceptives—while providing an exemption for entities with religious and conscience

objections—but do not require any coverage of male contraceptives. See id. The Rules expand

the previously available exemptions for churches and their integrated auxiliaries to the mandated

coverage of female contraceptives. Therefore, the Agencies’ preventive services coverage

requirements do not make any sex distinction to the detriment of women as alleged by Plaintiff.

(Plaintiff does not appear to challenge § 300gg-13(a)(4)’s distinction in allowing for preventive

services guidelines specifically for women.)

       The Rules thus allow for distinctions in coverage not on the basis of the sex of recipients

of the coverage, but on the basis of the religious or moral objections of the employer, plan

sponsor, institution of higher education, or issuer. Distinctions specifying that these specific

guidelines apply among women already existed before the Rules were issued. Therefore, if

exemptions to the guidelines were deemed violations of equal protection, that violation would

apply equally to the prior church exemption, the accommodation, and grandfathering under the

ACA. The Rules do not treat men more favorably than women, and any sex-based distinctions

flow from the statute itself, which requires coverage for preventive services for women only and

which Plaintiff has not challenged.

       Plaintiff resists this common-sense proposition by arguing that the contraceptive mandate

for women was required to “equal” the coverage enjoyed by men. Pl. Opp. at 25. That position



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is illogical and would lead to absurd results. Prior to (and after) the issuance of the Rules, men

and women were not “equally” covered as to contraceptives because there is no federal

requirement that health plans cover male contraceptives at all. See 42 U.S.C. § 300gg-13(a)(4)

(requiring preventative services to be covered “with respect to women”). Such asymmetry is not

unique to contraceptive coverage—Plaintiff itself notes that some non-contraceptive preventive

services must be covered only for men. See Pl. Opp. at 26 n.11. Under Plaintiff’s logic, those

provisions could also violate equal protection. But if that argument were accepted, any time

Congress wished to require coverage of services specifically for women, it would be forced to

provide those same services for men to maintain “equal” benefits, and vice versa.

       Plaintiff states no equal-protection violation by alleging that the ACA provision requiring

coverage for additional preventive services for women was motivated by a desire to remedy

inequities in the provision of health care to men and women. Id. at 25. Even if correct, it

remains the case that the ACA provision itself requires only coverage of female preventive

services, including contraceptives. Consequently, the Rules neither create any sex-based

distinction nor treat men more favorably than women. The essence of Plaintiff’s contention is

that despite the fact that the Rules do not draw any sex-based distinction, the exemption to

subsidizing contraceptive coverage disparately affects women. Such a claim does not state a

cognizable equal protection claim on the basis of sex, which can be based only on a showing of

discriminatory intent not disparate impact.

       Moreover, as Defendants’ opening brief also explained, Plaintiff has cited no authority

that declining to require subsidization of contraception constitutes a sex-based equal protection

violation. Defs.’ SJ Mem. at 41-42. Plaintiff’s closing brief does not rectify this failure.

Sessions v. Morales-Santana, 137 S. Ct. 1678 (2017), did not involve subsidization, but instead



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concerned a sex-based distinction in the law governing acquisition of U.S. citizenship by a child

born abroad. Similarly, Caban v. Mohammed, 441 U.S. 380 (1979), involved a distinction

between unwed mothers and unwed fathers in state domestic-relations law, rather than

subsidization.

       Facially neutral policies receive rational basis review absent a showing of purposeful

discrimination. See Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 274 (1979). Plaintiff falls far

short of establishing such purposeful discrimination. Plaintiff professes suspicion of the

Agencies’ decision to promulgate exemptions concerning contraception, and not other provisions

of the ACA, but the Rules themselves explain why this is so: there had been a flood of litigation

from entities asserting their particular religious and moral objections to being coerced into

providing contraceptive coverage. See 83 Fed. Reg. at 57,540. No similar flood of litigation has

challenged coverage of any other services provided for in the Guidelines.

       Furthermore, even if—as Plaintiff incorrectly contends—intermediate scrutiny were to

apply, the Rules would satisfy intermediate scrutiny. Plaintiff does not dispute in its opposition

that the accommodation of religious beliefs is an important government interest. See Defs.’ SJ

Mem. at 42. Nor does it dispute that the accommodation of non-religious moral beliefs is an

important government interest. See id. at 43. Because the Agencies acted for both of these

reasons, as well as for other reasons, 83 Fed. Reg. at 57,540, 83 Fed. Reg. 57, 592, 57,593 (Nov.

15, 2018), the Rules are substantially related to important government interests.

V.     Even if Plaintiff Were to Prevail, a Set-Aside as to Plaintiff Is the Only Appropriate
       Remedy.

       As explained in Defendants’ opening brief, even if the Court were to rule in Plaintiff’s

favor on the merits, the APA dictates that the appropriate remedy would be to set aside the

agency action deemed unlawful by the Court as to Plaintiff, and remand to the Agencies for

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additional investigation or explanation. Defs.’ SJ Mem. at 44-45. Plaintiff’s contrary contention

that a remedy with nationwide scope would be appropriate in the event that it were to prevail

ignores the Supreme Court’s instruction that a “plaintiff’s remedy must be ‘limited to the

inadequacy that produced [its] injury in fact’” because “the Court’s constitutionally prescribed

role is to vindicate the individual rights of the people appearing before it.” Gill v. Whitford, 138

S. Ct. 1916, 1930, 1933 (2018). And here, Plaintiff fails to articulate any reason why a decision

setting aside the agency action deemed unlawful as to Plaintiff would not “provide complete

relief to [it].” California v. Azar, 911 F.3d 558, 582 (9th Cir. 2018), cert. denied sub nom. Little

Sisters of the Poor v. California, 139 S. Ct. 2716 (2019). Indeed, in parallel litigation, the Ninth

Circuit concluded that a district court that had issued nationwide preliminary injunctive relief

against the IFRs “had abused its discretion in that regard” and that the injunction “must be

narrowed to redress only the injury shown as to the plaintiff states.” Id. at 584.

        Nor does National Mining Association v. U.S. Army Corps of Engineers, 145 F.3d 1399

(D.C. Cir. 1998), require a different result. That case “stands for the unremarkable, narrower

proposition that an injunction issued by the district court in the case was valid against the agency

on a national basis, not merely within the geographic jurisdiction of the court.” Biggs v. Quicken

Loans, Inc., 990 F. Supp. 2d 780, 785 (E.D. Mich. 2014). It does not follow that a district court

must issue relief beyond setting aside the specific agency action deemed unlawful with respect to

the specific plaintiff before it, regardless of whether such relief is necessary to remedy that

plaintiff’s alleged injury.

        And as explained in Defendants’ opening brief, the scope of any set-aside should be

limited to addressing Article III injury actually imposed on Plaintiff, and not to provisions of the

Rules as to which Plaintiff has not demonstrated such injury. Defs.’ SJ Mem. at 45. Plaintiff



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incorrectly contends that because the First Circuit determined that Plaintiff possessed standing to

sue, that court necessarily determined that Plaintiff must have been injured by all provisions of

the Rules. Pl. Opp. at 28-29. But “the issue on appeal” before the First Circuit was “narrow:

whether the Commonwealth has Article III standing to challenge the rules.” Massachusetts v.

HHS, 923 F.3d 209, 213 (1st Cir. 2019). Plaintiff thus vastly overreads the First Circuit’s

decision, which said nothing about whether Plaintiff had shown injury with respect to each of the

provisions of the Rules creating particular exemptions (for example, whether Plaintiff has shown

injury from the exemptions for religious nonprofits, or moral nonprofits, or individuals).

Because the First Circuit did not reach such issues in its decision, nothing prevents this Court

from addressing such issues in determining the scope of appropriate relief.

                                         CONCLUSION

       For the reasons stated above and in Defendants’ opening brief, the Court should dismiss

Plaintiff’s complaint or enter summary judgment for Defendants, and deny Plaintiff’s motion for

summary judgment.

DATED: October 21, 2019                               Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

       I certify that on October 21, 2019, I caused a copy of the foregoing to be filed

electronically and that the document is available for viewing and downloading from the ECF

system. Participants in the case who are registered CM/ECF users will be served by the

CM/ECF system. If any counsel of record requires a paper copy, I will cause a paper copy to be

served upon them by U.S. mail.

                                                             /s/ Daniel Riess




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